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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA


 SMARTMATIC USA CORP.,
 SMARTMATIC INTERNATIONAL
 HOLDING B.V. and SGO CORPORATION                   Case No. 22-cv-00098- WMW-JFD
 LIMITED,

                               Plaintiffs,              STATEMENT INSTEAD OF
                                                             REDACTION
                        v.

 MICHAEL J. LINDELL and MY PILLOW,
 INC.,

                               Defendants.


         The following exhibits to the Declaration of Abraham S. Kaplan (ECF No. 215)

submitted in support of Defendants’ Third Motion to Compel and Amend Scheduling

Order have been filed under seal in accordance with Local Rule 5.6(d) as follows:

               -

 ECF No.       Exhibit Description of Document          Reason         for      Filing
                                                        Document Under Seal
 215-1         F        Multiple versions of Appendix A Produced in Discovery–
                                                        Entire Document is labelled
                                                        Attorneys’ Eyes Only –
                                                        Highly Confidential
 215-2         M        September 22, 2023 Hearing Per L.R. 80.1, no part of the
                        Transcript                      transcript is yet to be made
                                                        publicly      available     on
                                                        CM/ECF
     CASE 0:22-cv-00098-JMB-JFD   Doc. 219   Filed 09/28/23   Page 2 of 2




DATED: September 28, 2023         PARKER DANIELS KIBORT LLC

                                  By /s/ Abraham S. Kaplan
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